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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

 BAYOU CITY WATERKEEPER,                        §
                                                §
                               Plaintiff,       §
 v.                                             §    CIVIL ACTION NO. 4:18-CV-3369
                                                §    JUDGE ANDREW HANEN
 CITY OF HOUSTON,                               §
                                                §
                               Defendant.       §
                                                §

                                      Notice of Appearance

       Please take notice that Kristen Schlemmer, the undersigned counsel, appears in this case

as counsel for Bayou City Waterkeeper and should receive copies of all documents that are

electronically filed in this matter. David Frederick remains the Attorney-in-charge.

       Dated: September 26, 2018.

                                                     By: /s/ Kristen Schlemmer


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